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15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,                        Case Number: 2:21-cv-01412-ART-EJY
     and JANE DOE 2
20                                                 DECLARATION OF GINA MENICHINO
                   Plaintiffs,                     IN SUPPORT OF PLAINTIFFS’ MOTION
21                                                 FOR SUMMARY JUDGMENT
            vs.
22
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
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                    DECLARATION OF GINA MENICHINO IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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 1   I, Gina Menichino, declare as follows:
 2          1.     I am Gina Menichino, a Plaintiff in the above-captioned action.
 3          2.     Defendants have filed a defamation counterclaim against me for the following
 4   statement:
 5          The whole game was to keep him happy. Don’t get him angry, or I was unworthy
 6          and I would lose my dance career.

 7          It’s the first memory of when the grooming began.’…that Counterclaimant
            Mitchell Taylor Button gave her a teddy bear sprayed with his cologne, so she
 8          could feel like she was ‘sleeping’ with him…

 9          [H]e devised reasons for them to be alone together and it went on for a year and
            a half.
10
            He [Counterclaimant Mitchell Taylor Button] made her believe that telling
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            anyone about ‘them’ would ruin her career.
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            3.     These statements are true.
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            4.     I subjectively believe these statements are true.
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            5.     To the best of my knowledge and belief, I did not provide any information to
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     reporters beyond information that was already accessible in my complaint against Defendants.
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            I declare under penalty of perjury that the foregoing is true and correct to the best of my
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     knowledge and belief.
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     Dated: January 6, 2025
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20                                                    /s/ Gina Menichino
                                                      Gina Menichino
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                     DECLARATION OF GINA MENICHINO IN SUPPORT OF
                      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
